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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY

  EMERGENCY PHYSICIANS OF ST.
  CLARE’S, LLC, MERCER BUCKS                      Civil Action No.
  ORTHOPEDICS, PC, and PASCACK                    09-cv-6244-WJM-MF
  EMERGENCY SERVICES,
                                                  Motion Day: April 5, 2010
  On behalf of themselves and all others
  similarly situated,                             [Filed Electronically]

  Plaintiffs,

         v.

  PROASSURANCE CORPORATION,                 HEARING REQUESTED
  PROASSURANCE CASUALTY
  COMPANY, and PROASSURANCE
  INDEMNITY COMPANY, INC.,

  Defendants.


            PLAINTIFFS’ AMENDED BRIEF IN OPPOSITION TO
          DEFENDANTS’ MOTION TO COMPEL ARBITRATION OR,
            IN THE ALTERNATIVE DISMISS THE COMPLAINT

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  I.    FACTUAL BACKGROUND

        This is a class action filed by three medical groups, on behalf of

  themselves and others similarly situated, against medical malpractice

  insurers for overcharging insured entities that purchased Extended Reporting

  Period Endorsements (“ERPs”) to insurance policies, also known as “tail

  coverage.” Essentially, the ERP is an endorsement that attaches to the

  policy and extends the reporting time period for coverage of claims of

  alleged medical negligence that occurred during the policy coverage period.

        The named Plaintiffs, Emergency Physicians of St. Clare’s LLC, (“St.

  Clare’s”), Mercer Bucks Orthopedics, PC, (“Mercer Bucks”), and Pascack

  Emergency Services, (“Pascack”), are New Jersey medical practice groups

  that purchased “claims-made” medical malpractice insurance policies. 1

  Complaint ¶¶ 12-14. Defendant ProAssurance Corporation (“ProAssurance

  Corporation”), is an insurance holding company that operates through six

  consolidated    subsidiaries/operating     companies,     including    Defendant

  ProAssurance Casualty Company, (“ProAssurance Casualty”), a subsidiary

  of ProAssurance Corporation, which in 2008 accounted for 28% of

  ProAssurance’s gross written premium, Complaint ¶¶ 15, 17, and Defendant

  ProAssurance     Indemnity     Company,      (“ProAssurance      Indemnity”),    a
  1
    A “claims-made” insurance policy is one that pays claims presented to the insurer
  during the term of the policy.
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  subsidiary of ProAssurance Corporation, which in 2008 accounted for 55%

  of ProAssurance’s written premium.        Plaintiffs purchased their medical

  malpractice insurance and ERPs directly from ProAssurance Casualty.

  Complaint ¶¶ 26, 34, 42.

        Plaintiffs allege that Defendant ProAssurance Corporation “uniformly

  directs ProAssurance Casualty and ProAssurance Indemnity, and uniformly

  applies the same polices with respect to ProAssurance Casualty and

  ProAssurance Indemnity.” Complaint ¶ 18. Plaintiffs further allege that all

  of the Defendants have the same chairman, W. Stencil Starnes, and that the

  officers and directors or trustees of ProAssurance Casualty and

  ProAssurance Indemnity are substantially identical. Id.

        The core complaint is that Plaintiffs’ policies included language

  (various) providing that they had a right to purchase an ERP at rates in effect

  on the date of termination of their policies or rates in effect for the year in

  which they purchased their policies, but that instead of charging those rates,

  “for policies terminating in 2003, 2004, and 2005, defendants charged

  plaintiffs the rate applying to ERP endorsements attaching to policies written

  after plaintiffs’ policies terminated. That rate was substantially higher than

  the rate defendants had filed [with the State] that applied to plaintiffs’ ERP

  endorsements.” Complaint ¶¶ 4, 5 (emphasis added).



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        The two classes of persons Plaintiffs seek to represent are similarly

  situated former New Jersey policyholders of Defendants whose policies

  terminated during 2003, 2004, and 2005, and all former policyholders of

  Defendants whose policies terminated during 2003, 2004, and 2005.

  Complaint ¶¶ 7, 20.

        Plaintiffs bring their claims under the New Jersey Consumer Fraud

  Act (“CFA”) (Count I), under common law for breach of contract (Count II),

  and for unjust enrichment (Count III). Plaintiffs seek judgment on their own

  behalf and on behalf of the two classes of similarly situated persons and

  request compensatory, punitive and/or treble damages, an accounting, costs

  and fees and other relief as deemed appropriate by this Court.

  II.   ARGUMENT

        A.    The Arbitration Agreement is Not Enforceable

              1.     The Arbitration Agreement is an
                     Unconscionable Contract of Adhesion

        In New Jersey an insurance policy is considered a “contract of

  adhesion between parties who are not equally situated.”          President v.

  Jenkins, 853 A.2d 247, 254 (N.J. 2004) (quoting Doto v. Russo, 659 A.2d

  1371, 1376 (N.J. 1995) (quoting Meier v. New Jersey Life Ins. Co., 503 A.2d

  406 (N.J. 1985)). Such policies are often “prepared unilaterally by the

  insurer, and have always been subjected to careful judicial scrutiny to avoid

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  injury to the public.” Sparks v. St. Paul. Ins. Co., 495 A.2d 406, 412 (N.J.

  1985).

        The New Jersey Supreme Court has explained that an insurance

  company is an “expert in its field and its varied and complex instruments are

  prepared by it unilaterally whereas the insured or prospective insured is a

  layman unversed in insurance provisions and practices.”             Allen v.

  Metropolitan Life Ins. Co., 208 A.2d 638, 644 (N.J. 1965). “Moreover,

  policies are frequently not read by the insured, ‘whose understanding is

  often impeded by the complex terminology used in the standardized forms.’”

  President, 853 A.2d at 254 (citing Doto, 659 A.2d at 1376). Thus, when

  called on to interpret ambiguous insurance policies, courts “assume a

  particularly vigilant role in ensuring their conformity to public policy and

  principles of fairness.” Voorhees v. Preferred Mut. Ins., Co., 607 A.2d

  1255, 1260 (N.J. 1972). See President, 853 A.2d 247 at 563 (explaining that

  courts should “interpret the contract to comport with the reasonable

  expectations of the insured”) (quoting Zacarias, v. Allstate, 775 A. 2d 1262,

  1264 (N.J. 2001)).

        New Jersey employs a four part analysis to determine whether

  contracts of adhesion are unconscionable. Rudbart v. New Jersey Dist.




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  Water Supply Comm., 605 A.2d 681, 687 (N.J. 1992). 2 Not only should the

  take-it-or-leave-it nature of the contract be examined, but the Court should

  also consider (1) the subject matter of the contract, (2) the parties’ relative

  bargaining positions, (3) the degree of economic compulsion motivating the

  “adhering” party, and (4) the public interests affected by the contract. Id.

  An analysis of the Rudbart factors warrants the determination that the

  arbitration provision is unconscionable and therefore unenforceable.

                        a.     Important Public Interests are Implicated
                               in Medical Malpractice Insurance
                               Agreements

         As a contract for medical malpractice insurance, the subject matter of

  the contract supports a determination that the arbitration agreement is

  unenforceable. Medical professionals face the risk of incurring large and

  potentially ruinous damage awards in malpractice actions in the absence of

  insurance. The ability to purchase such coverage at terms that fairly protect

  the legal rights of physicians and other medical professionals is important to

  ensuring the availability of quality medical services in the state. In addition,

  2
   The court in Rudbart determined that a contract to purchase a “project note” of a public
  corporation was enforceable because the notes were available on an open market, no
  investor was under economic pressure to buy a note in the subject project, and the notes
  were not consumer necessities because prospective investors could choose from a vast
  selection of alternative investments. 605 A.2d at 687. Consequently, the purchasers were
  not driven to make the purchase by a monopolistic market or any other economic
  constraints. Id. Accordingly, due to the lack of disparity in bargaining positions, even
  though the contract was considered to be one of adhesion, the principal justification for
  invalidating the terms of the contract were not present. Id.


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  New Jersey courts have explained that the important public policy behind

  the CFA, of which Plaintiffs allege a violation, is to “root out consumer

  fraud.” Rockel v. Cherry Hill Dodge, 847 A.2d 621, 623 (N.J. 2004). See

  also Barry v. Arrow Pontiac, Inc., 494 A.2d 804, 811 (N.J. 1985) (“The Act

  was passed in response to widespread complaints about selling practices that

  victimized consumers, and thus was designed to prevent deception, fraud, or

  falsity, whether by acts of commission or omission, in connection with the

  sale and advertisement of merchandise and real estate. The Act is remedial

  and has been liberally construed in favor of protecting consumers.”). There

  are important public policy interests involved in remedying violations of the

  CFA, as well as the significant public interest in protecting and retaining

  physicians within New Jersey to serve the public. These interests weigh in

  favor of a determination that the mandatory arbitration clause of this contract

  of adhesion is unconscionable and unenforceable.

                     b.     The Parties had Unequal Bargaining Power

        Defendants are large, well-funded, multi-billion dollar asset based

  powerful insurance companies who presumably utilized knowledgeable and

  experienced attorneys that specialize in the field of insurance in drafting

  their contracts. Although Plaintiffs are physicians, they are not sophisticated

  regarding complicated insurance policy language, policy-types, improper


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  pricing policies, the CFA, or the legal rights Defendants hoped they would

  waive by signing the contract of adhesion currently at issue.            Rather,

  Plaintiffs were confronted with a termination of their malpractice coverage

  and had few alternatives other than to purchase tail coverage at the prices

  charged by Defendants.

                     c.     There was a Significant Degree of
                            Economic   Compulsion   Motivating
                            Plaintiffs

        The Plaintiffs are medical practice groups and were under extreme

  pressure to obtain insurance to avoid a gap in coverage. ProAssurance had a

  monopoly in selling tail coverage for its policies and the consequence of the

  policies being terminated or non-renewed was that these groups and

  physicians were faced with an imminent lapse in coverage and exposure to

  potentially ruinous malpractice suits and judgments.          This court has

  recognized the compulsion inherent in insurance agreements.          See, e.g.,

  Bueff Enterprises Florida, Inc. v. Villa Pizza, LLC, No. 07-1259, 2008 U.S.

  Dist. LEXIS 23957, *7-8 (D.N.J. March 24, 2008) (determining that

  plaintiffs did not waive their right to a jury trial even where they could have

  attempted to negotiate their franchise agreement because unlike insurance

  agreements, franchise agreements are not contracts of adhesion and plaintiffs

  were under no particular pressure to purchase the franchise at issue).


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               2.    The Arbitration Agreement is Not Enforceable
                     Because Plaintiffs Did Not Waive their Rights
                     to Pursue Statutory Rights in Court Before a
                     Jury

        The arbitration clause is not enforceable because it does not contain a

  clear and unmistakable waiver of Plaintiffs’ rights to pursue their statutory

  claims in court, nor a waiver of their rights to a jury trial. When viewed in

  the context of a contract of adhesion, the balance of interests plainly falls in

  favor of the Plaintiffs and the arbitration clause should be found to be

  unenforceable.

                     a.     Given the Important Public Policy
                            Considerations   Involved  in   Cases
                            Alleging a Violation of the Consumer
                            Fraud Act, Courts Must Examine
                            Arbitration Agreements on a Case-by-
                            Case Basis

        When considering the enforceability of arbitration agreements in a

  case alleging a violation of the CFA, it is necessary to balance the important

  public policy behind the CFA to “root out consumer fraud” and the

  competing public policy favoring arbitration. Rockel v. Cherry Hill Dodge,

  847 A.2d 621, 623 (N.J. 2004) (“Such provisions may be enforced if they

  contain the appropriate attributes or disregarded if they do not.”) (quoting

  Gras v. Associates FirstCapital Corp., 786 A.2d 886, 892 (N.J. 2001)).

  Because the public interests underlying these policies are “in or near



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  equipoise,” New Jersey courts have determined that rather than applying a

  bright-line rule, courts must consider the enforceability of arbitration

  agreements on a case-by-case basis. Id. “The delicate balance between the

  policies of the CFA and the policy in favor of arbitration requires that the

  consumer be given reasonable notice of such provisions, that the provisions

  contain a clear waiver of statutory rights, and that the arbitration agreement

  be phrased in unambiguous terms.” Id. at 627.

                       b.    A Waiver of the Right to Pursue
                             Statutory Rights in Court Must be Clear
                             and Unambiguous

        The “[w]aiver of statutory rights provisions in arbitration agreements

  must be clear and explicit.”       Garfinkel v. Morristown Obstetrics and

  Gynecology Assoc., P.A., 773 A.2d 665, 670 (N.J. 2001) (additional citations

  omitted).     As the Appellate Division reiterated in Finestein v. BDS

  Remodeling Services, LLC¸ No. A.-2555-03T1, 2005 WL 704290 Unpub.

  (N.J. Super. App. Div. March 21, 2005):

              A contractual provision in which a consumer elects
              arbitration as the exclusive remedy, however, must also
              be read in light of its effect on the consumer’s right to
              sue. A clause depriving a citizen of access to the court
              should clearly state its purpose. The point is to assure
              that the parties know that in electing arbitration as the
              exclusive remedy, they are waiving their time-honored
              right to sue.



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  Id. at *2 (quoting Marchak v. Claridge Collins, Inc., 663 A.2d 531, 535

  (N.J. 1993). To this end, the “waiver of statutory rights must be clearly and

  unmistakably established and contractual language alleged to constitute a

  waiver will not be read expansively.” Garfinkel, 773 A.2d at 670. This is

  especially so in the context of a claim brought pursuant to the CFA given the

  important public policy considerations of that statute.

        In Rockel, the court determined that an agreement to arbitrate was not

  enforceable despite the existence of language apprising plaintiffs that: (1)

  they were waiving their “right to a trial by jury or a trial in court;” (2)

  discovery in arbitration “is generally more limited than in a lawsuit;” and (3)

  “[o]ther rights that each of us would have in court may not be available in

  arbitration.” Id. at 624, 626-27. The court explained that:

                In Gras we also emphasized that the arbitration
            provision expressly stated that, by signing, the consumer
            was agreeing to arbitrate “any claim or dispute based on
            a federal or state statute.” The contract documents in
            question do not contain any similar language. The only
            statement which defendant has alluded to in attempting to
            meet this requirement - - the amorphous statement that
            “[o]ther rights that each of us would have in court may
            not be available in arbitration” - - falls woefully short of
            what Gras requires.

  Id. (emphasis in original) (internal citations omitted).

        In Kuhn v. Terminex International, No. A-1518-07T3, 2008 Unpub.

  LEXIS 2005, *5-6 (N.J. Super. Ct. App. Div. May 9, 2008), the court

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  concluded that the arbitration clause was unenforceable where it failed to

  inform plaintiffs they were waiving their right to pursue their statutory

  claims in court. Specifically, the Agreement provided:

             10. ARBITRATION. The Purchaser and Terminix agree
             that any controversy or claim between them arising out of
             or relating to the interpretation, performance or breach of
             any provision of this agreement shall be settled
             exclusively by arbitration. Such arbitration shall be
             conducted in accordance with the Commercial
             Arbitration Rules then in force of the American
             Arbitration Association. The arbitration award shall be
             final and binding on both parties. Judgment upon such
             arbitration award may be entered in any court having
             jurisdiction.

  Id. at 1. The court explained that “[a]lthough the clause may be reasonably

  construed as effecting a waiver of trial of contractual claims, it does not

  contain an explicit agreement to arbitrate nor waiver of trial of statutory

  claims such as those asserted by plaintiffs in this litigation.” See also, id. at

  *6 (determining arbitration clause was deficient where “its content does not

  inform the consumers they have waived their statutory rights or their right to

  a jury trial). 3 See also Mullin v. Automobile Protection Corp., No. 07-3327,

  2008 U.S. Dist. LEXIS 87577, *12-15 (D.N.J. Sept. 29, 2008) (determining

  3
    The court in Kuhn also noted that defendant did not provide the plaintiff consumers
  with reasonable notice of the arbitration clause because “it is one of twelve general
  conditions undistinguishable from all the other boiler-plate provisions.” Kuhn, 2008 N.J.
  Super. Unpub. LEXIS 2005 at 6. Similar to the contract at issue in Kuhn, the one
  paragraph arbitration clause in Defendants’ contract is indistinguishable from the
  multiple pages of boilerplate provisions.


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  that based on the reasoning in Kuhn, plaintiffs did not waive their statutory

  rights under the CFA).

        In Garfinkel v. Morristown Obstetrics & Gynecology Assocs., P.A.,

  the court held that a contractual clause stating that “’any controversy or

  claim’ that arises from the agreement or its breach shall be settled by

  arbitration” did not require plaintiffs to arbitrate their claims because the

  clause failed to “mention, either expressly or by general reference, statutory

  claims redressable by [The Law Against Discrimination, N.J.S.A. 10:5-1 to -

  49].” 773 A.2d 665, 671 (N.J. 2001). Specifically, the court explained:

            The Court will not assume that employees intend to
            waive those rights unless their agreement so provides in
            unambiguous terms. That said, we do not suggest that a
            party need refer specifically to the [statute at issue] or list
            every imaginable statute by name to effectuate a knowing
            and voluntary waiver of rights. To pass muster, however,
            a waiver-of-rights provision should at least provide that
            the employee agrees to arbitrate all statutory claims
            arising out of the employment relationship or its
            termination. It should also reflect the employee’s general
            understanding of the type of claims included in the
            waiver, e.g., workplace discrimination claims.

  Id. at 672.




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                         c.      Defendants’     Arbitration  Agreement
                                 Significantly Skews the Balance Between
                                 the Public Policies

         Similar to the agreements at issue in Rockel, Kuhn, and Garfinkel, the

  arbitration agreement at issue here fails to “pass muster.” 4 The agreement

  here states that:

             Any dispute, claim or controversy arising out of,
             relating to or in connection with this policy, its subject
             matter or its negotiation, as to the existence, validity,
             interpretation,     performance,         non-performance,
             enforcement, operation, breach of contract, breach of
             warranty, continuance of termination thereof or any
             claim alleging fraud, deceit, or suppression of any
             material fact or breach of fiduciary duty shall be
             submitted to binding arbitration . . . .

  Declaration of Michael Dinger (“Dinger Declaration”), Exs. A, B & C ¶

  XIII. See Rockel, 847 A.2d at 626 (discussing language stating that “’any

  controversy or claim arising out of or relating to this Agreement’ shall be

  ‘settled by arbitration’” and determining that “this provision represents an

  insufficient foundation for an order compelling arbitration.”). Although the

  4
    The arbitration agreement in this case is factually distinguishable from the ones courts
  have upheld as enforceable. For example, in Martindale v. Sandvik, 800 A.2d 872, 883-
  84 (N.J. 2002), the court determined that the language in that agreement was a clear and
  unambiguous waiver of plaintiff’s statutory rights and that plaintiff agreed to waive her
  right to a jury trial. Id., see also id. at 875 (“I agree to waive my right to a jury trial in
  any action or proceeding related to my employment with Sandvik.”). Similarly, in
  Salvadori v. Option One Mortgage Corp., 420 F. Supp. 2d 349 (D.N.J. 2006), the
  arbitration agreement explicitly stated that “both of us are waiving our rights to have
  disputes resolved in court by a judge or jury” and that the arbitration agreement applied
  to claims “includ[ing], but not limited to federal or state contract, tort, statutory,
  regulatory common law and equitable claims.” Id. at 352, 355.


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  agreement lists the types of claims included in the waiver, it does not

  mention the CFA or any type of statutory rights. Dinger Declaration, Exs.

  A, B & C ¶ XIII.       Moreover, the agreement provides no explanation,

  discussion, or notice regarding the consequences of agreeing to arbitrate or

  what rights (such as the right to jury trial) are being waived. See Kamaratos

  v. North East General Contractors, 812 A.2d 531, 538 (N.J. Super. Ct. App.

  Div. 2003) (reversing decision to uphold arbitration decision and noting that

  although the agreement referred to the arbitration statutes, “it did not clearly

  state the consequences of an agreement to arbitrate disputes over legal

  fees.”). As such, “the arbitration provisions at hand significantly skew the

  balance between the purposes of the CFA and the policy in favor of

  arbitration of disputes, thus requiring a rejection of defendant’s attempts to

  compel arbitration.” Rockel, 847 A.2d at 623.

               3. The Cost Provisions of the Arbitration Agreement
                  are Unconscionable

        An arbitration agreement is unconscionable where the costs are so

  high as to prevent a party “from effectively vindicating her federal statutory

  rights in the arbitral forum.” Green Fin. Corp. v. Randolph, 531 U.S. 79, 90

  (2000). To meet this burden, plaintiffs must (1) come forward with some

  evidence to show the projected fees that would apply, and (2) show their




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  inability to pay those costs. Parilla v. IAP Worldwide Servs., 368 F.3d 269,

  283-85 (3d Cir. 2004).

         The arbitration agreement provides that arbitration will be conducted

  pursuant to the Commercial Arbitration Rules of the American Arbitration

  Association (“AAA”). Dinger Declaration, Exs. A, B & C ¶ XIII. Because

  Plaintiffs bring this case on behalf of similarly situated entities, AAA’s

  Supplementary Rules for Class Arbitration will also apply to the proceeding.

  http://www.adr.org/sp.asp?id=21936.             AAA’s Supplementary Rules for

  Class Arbitration require the party demanding arbitration to pay a

  preliminary filing fee of $3,350 which covers all AAA administrative fees

  up through the rendering of a Clause Construction Award. Id. at Rule 11(a).

  Subsequent to the Clause Construction Award, the requesting party is then

  required to pay a supplemental fee based on the amount of the claim at issue

  in the class action pursuant to the fee schedule set forth in AAA’s

  Commercial Arbitration Rules. Id. The Commercial Rules require for cases

  with claims between $5,000,000 and $10,000,000 an initial filing fee of

  $10,200 and a case service fee of $4,000. 5 Additionally, unlike a court

  proceeding, the parties are required to compensate the arbitrator at his or her

  professional rate and pay other costs such as travel, arbitrator expenses, and
  5
   A claimant is required to pay a filing fee of $10,000 in cases for an unspecified amount
  of monetary damages.


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  the cost of a AAA hearing room if requested. See Adamson v. Foulke Mgm’t

  Corp., No. 08-4819, 2009 U.S. Dist. LEXIS 118061, *17 (D.N.J. Dec. 18,

  2009) (discussing an affidavit from Gerald Strathmann, Vice-President of

  the AAA since January 2008, outlining the costs of an arbitration pursuant to

  AAA’s Commercial Rules). The average daily rate for an AAA Commercial

  Panel arbitrator in New Jersey is $1,684.16 and the costs range from $600 to

  $35,000. Id.

         Consequently, assuming fees and costs are split between the parties,

  Plaintiffs’ portion of the filing fees ($17,550), the median amount of costs

  ($17,200), and an arbitrator’s bill ($33,683.20 - assuming 20 days of work at

  $1,684.16 per day) could easily exceed $30,000. Indeed, the class action

  rules provide for the selection of a panel of three arbitrators and the

  Commercial Rules Procedures for Large Complex Commericial Disputes

  provide that unless the parties agree otherwise, AAA will utilize a three

  arbitrator        panel        when          claims        exceed          $1,000,000.

  http://www.adr.org/sp.asp?id=22440#A3 at L2. In that scenario, Plaintiffs’

  portion of the arbitrators’ bill alone could easily exceed $60,000. 6


  6
    If this case is sent to arbitration, Plaintiffs reserve the right to challenge the
  conscionability of the arbitration provision if an arbitrator determines that it does not
  provide for class arbitration. Muhammad v. County Bank of Rehoboth Beach, 912 A.2d
  88, 100 (N.J. Aug. 9, 2006) (holding that a class action waiver in a consumer arbitration
  agreement renders that agreement unconscionable).


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                 4.     The Federal Arbitration Act Requires that
                        Cases be Stayed Pending Arbitration

         Were this Court to grant Defendants’ motion to enforce the arbitration

  clause, the case should be stayed not dismissed. The Federal Arbitration Act

  requires that courts “shall on application of one of the parties stay the trial of

  the action until such arbitration has been had in accordance with the terms of

  the agreement . . . “ 9 U.S.C. § 3. The Third Circuit has held that the FAA’s

  stay provision is mandatory, and there is no discretion vested in the district

  courts to deny the stay. Lloyd v. Hovensa, LLC, 369 F.3d 263, 269 (3d Cir.

  2004). 7

         B.      Plaintiffs’ Claims Should Not Be Dismissed

                 1.     Legal Standard

         A motion to dismiss under Federal Rule of Civil Procedure 12(b)(6)

  may be granted only if, accepting all well-pleaded allegations in the

  complaint as true and viewing them in the light most favorable to the

  plaintiff, a court finds that plaintiff has failed to set forth fair notice of what

  the claim is and the grounds upon which it rests. Bell Atlantic Corp. v.

  Twombly, 550 U.S. 544, 555 (2007) (citing Conley v. Gibson, 355 U.S. 41,

  47 (1957)). A complaint will survive a motion to dismiss if it contains

  7
    Staying the case will also protect the rights of the unnamed class members for whom the
  statute of limitations was tolled by the filing of this action. See American Pipe & Constr.
  Co. v. Utah, 414 U.S. 538, 550 (1974).


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  sufficient factual matter to “‘state a claim to relief that is plausible on its

  face.’” Ashcroft v. Iqbal, 129 S. Ct. 1937, 1949 (2009) (quoting Twombly,

  550 U.S. at 570).          Plaintiffs have sufficiently pleaded claims that are

  plausible on their face.

                 2.     Named Plaintiffs Have Standing To Bring These
                        Class Action Claims Against All Defendants
                        Under the Concerted Action and Juridical Link
                        Doctrines

         As a threshold matter, standing is a prerequisite for the maintenance

  of all actions, including class actions. Osgood v. Harrah’s Entm’t, Inc., 202

  F.R.D. 115, 120 (D.N.J. 2001) (citing Fallick v. Nationwide Mutual Ins. Co.,

  162 F.3d 410, 423 (6th Cir. 1998)); O’Shea v. Littleton, 414 U.S. 488, 494

  (1974). However, there is no additional standing requirement for a plaintiff

  who seeks to represent a class. 8 Osgood, 202 F.R.D. at 120-121 (citing

  O’Shea, 414 U.S. at 494). Once an individual has alleged a distinct and

  palpable injury to himself, he has standing to challenge a practice even if the


  8
    “Although it is the duty of the plaintiff to ‘clearly and specifically set forth facts
  sufficient to satisfy [the] standing requirements,’ the level of specificity necessary to
  avoid dismissal for lack of standing should not be ‘exaggerated.’” Clark v. McDonald’s
  Corp., 213 F.R.D. 198, 206 (D.N.J. 2003) (quoting Hosp. Council of W. Pa. v. City of
  Pittsburgh, 949 F.2d 83, 86-87, 88 (3d Cir. 1991)). At this stage of the litigation, “the
  court may ‘presume that the general allegations in the complaint [as to standing]
  encompass the specific facts necessary to support those allegations.’” Id. (quoting Steel
  Co. v. Citizens for Better Env’t, 523 U.S. 83, 102, 104 (1998)). When, as here, a
  challenge to standing is made on the basis of the pleadings, “the court must ‘accept as
  true all material allegations of the complaint, and . . . construe the complaint in favor of
  the complaining party.’” Id. (quoting Pennell v. City of San Jose, 485 U.S. 1, 7 (1988)).


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  injury is of a sort shared by a large class of possible litigants. Osgood, 202

  F.R.D. at 120-121, n.3 (quoting Fallick, 162 F.3d at 423). And once a

  plaintiff’s standing has been established, whether s/he will be able to

  represent the putative class, including absent class members, depends solely

  on whether s/he is able to meet the additional criteria encompassed in Rule

  23 of the Federal Rules of Civil Procedure. Osgood, 202 F.R.D. at 121

  (quoting Fallick, 162 F.3d at 423).

        Defendants apparently acknowledge that the named Plaintiffs have

  standing to sue ProAssurance Casualty Company.           Def. Br. at 15-17.

  Defendants argue, however, that the claims against ProAssurance

  Corporation and ProAssurance Indemnity should be dismissed because the

  named Plaintiffs lack standing to bring claims against those defendant

  entities. Specifically, Defendants argue that the named Plaintiffs did not

  contract with ProAssurance Corporation or ProAssurance Indemnity and

  thus there is no “causal connection” between the injuries alleged in the

  Complaint and the actions of these two Defendants.             Id. at 16-17.

  Defendants ignore the fact that this is a class action where the named

  Plaintiffs seek to represent a class of injured persons and have alleged that

  these three related Defendants acted in concert in their practice of

  overcharging physicians for ERPs. The class nature of the claim makes a



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  critical difference when considering Defendant’s argument.

         As explained below, Plaintiffs’ standing to represent absent class

  members against ProAssurance Corporation and ProAssurance Indemnity

  rests on the well established concerted action and juridical link doctrines as

  articulated in the leading case of La Mar v. H & B Novelty & Loan Co., 489

  F.2d 461 (9th Cir. 1973), and embraced by the Third Circuit in Haas v.

  Pittsburgh Nat’l Bank, 526 F.2d 1083 (3d Cir. 1975). In La Mar, plaintiff

  initiated an action for federal Truth-in-Lending violations against all

  pawnbrokers licensed by the State of Oregon even though plaintiff had only

  borrowed from one pawnbroker. The Court held that a plaintiff having a

  cause of action against a single defendant could not bring a class action

  against the single defendant and an unrelated group of defendants. Id. at

  462 (emphasis added).9            However, the Court then laid out two critical

  exceptions to this rule:

             Obviously this position does not embrace situations in
             which all injuries are the result of a conspiracy or
             concerted schemes between the defendants at whose
             hands the class suffered injury. Nor is it intended to
             apply in instances in which all defendants are juridically


  9
    The court described its holding as follows: “The . . . issue [in these] cases is whether a
  plaintiff having a cause of action against a single defendant can institute a class action
  against the single defendant and an unrelated group of defendants who have engaged in
  conduct closely similar to that of the single defendant on behalf of all those injured by all
  the defendants sought to be included in the defendant class. We hold that he cannot.” La
  Mar, 489 F.2d at 462 (emphasis added).


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           related in a manner that suggests a single resolution of
           the dispute would be expeditious.

  Id. at 466 (emphasis added).

        The Third Circuit in Haas v. Pittsburgh Nat’l Bank, 526 F.2d 1083

  (3d Cir. 1975), approved the concerted action and juridical link concepts set

  forth in La Mar. In Haas, the district court had certified a plaintiff class in

  an action against multiple defendants, some of whom had never transacted

  business with the plaintiff, but who were all alleged to have acted in the

  same manner with respect to unnamed members of the plaintiff class. Haas

  v. Pittsburgh Nat’l Bank, 60 F.R.D. 604, 611-14 (W.D. Pa. 1973). After the

  Ninth Circuit issued its 1973 decision in La Mar, however, the district court

  reconsidered its class certification decision and concluded that class

  certification had been improper as against one of the defendants. Haas v.

  Pittsburgh Nat’l Bank, 381 F. Supp. 801, 807-808 (W.D. Pa. 1974). On

  appeal, the Third Circuit concluded that one of the plaintiffs did not have

  standing against one of the defendants on one of the issues. 526 F.2d at

  1087. However, the Third Circuit held that even though the plaintiff did not

  have standing against one of the defendants, summary judgment was

  inappropriate if the plaintiff could represent a class of plaintiffs who did

  have standing. Id. at 1087 (citing Rule 23(a) of the Federal Rules of Civil

  Procedure). The Third Circuit distinguished this scenario from La Mar

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  (where the named plaintiffs could assert no cause of action against certain

  named defendants and, as a result, those defendants were dismissed) and

  held that a plaintiff could assert a claim on behalf of a class against a

  particular defendant even though she lacked standing to assert that claim

  because she had standing to assert two other closely related direct claims

  against that defendant. Id. at 1089-90. The court also observed that in

  “situations in which all injuries are the result of a conspiracy or concerted

  schemes between the defendants at whose hands the class suffered injury” or

  in situations in which “all defendants are juridically related in a manner

  that suggests a single resolution of the dispute would be expeditious” a

  plaintiff with a claim against one defendant can represent a class of plaintiffs

  with claims against other defendants. 10 Id. at 1087 (citing La Mar, 489 F.2d

  at 466) (emphasis added). When the concerted action and juridical link

  doctrines of Haas and La Mar are applied to the case at bar, it compels the

  conclusion that Plaintiffs have standing to bring a class action suit against

  ProAssurance Corporation, ProAssurance Casualty and ProAssurance

  Indemnity.

  10
    See also Follette v. Vitanza, 658 F. Supp. 492, 507-08 (N.D.N.Y. 1987) (Examples of
  such [juridical] links include partnerships or joint enterprises, conspiracy, and aiding and
  abetting, since these terms denote some form of relationship or activity on the part of the
  members of the proposed defendant class that warrants imposition of joint liability
  against the group even though the plaintiff may have dealt primarily with a single
  member) (internal quotations and citations omitted)).


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                     a.     Defendants Engaged in a Concerted
                            Scheme to Wrongfully Overcharge Former
                            Policyholders for ERPs

        Plaintiffs allege that all three Defendants market and sell ERPs under

  the same company name: “ProAssurance,” that ProAssurance Corporation

  directs   ProAssurance    Casualty    and   ProAssurance      Indemnity,   that

  ProAssurance Casualty and ProAssurance Indemnity are ProAssurance

  Corporation’s two largest subsidiaries, and that ProAssurance Casualty and

  ProAssurance Indemnity apply a common policy with respect to ERP

  premiums as dictated by ProAssurance Corporation. Complaint ¶¶ 15-18.

  Thus, Plaintiffs have alleged a concerted scheme amongst juridically linked

  Defendants to overcharge policy holders for an ERP endorsement.

        This case is only in the initial stages and no discovery has been

  conducted. In Johnson v. Geico, 516 F. Supp 2d 351, 356 (D. Del. 2007)

  plaintiffs filed suit on behalf of themselves and all others similarly situated

  against GEICO Casualty Insurance Company, GEICO General Insurance

  Company, and GEICO Indemnity Insurance Company. Defendants moved

  to dismiss plaintiffs’ claims and argued that plaintiffs never purchased

  insurance coverage from either GEICO General or GEICO Casualty, and

  therefore, plaintiffs could not establish any compensable injury or damage.



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  Id.   The court concluded that dismissal for lack of standing was not

  warranted at the pleading stage. Id. (“[D]iscovery on the issue of standing

  is warranted before the court entertains the question of whether GEICO

  General and GEICO Casualty should be dismissed from this action.”).

  Accordingly, dismissal for lack of standing is not warranted at this stage of

  the case because discovery regarding the relationship between the

  Defendants as well as their concerted actions related to the scheme to

  overcharge former policy holders for ERP premiums is necessary.

                     b.     Defendants Are Juridically Linked in a
                            Manner That Suggests a Single
                            Resolution of the Dispute Would Be
                            Expeditious

        Juridical   links    exist   between     ProAssurance      Corporation,

  ProAssurance Casualty and ProAssurance Indemnity sufficient to establish

  the named Plaintiffs’ standing to represent a class of persons with claims

  against the three related Defendants.     ProAssurance Corporation operates

  and writes medical malpractice insurance through its six consolidated

  subsidiaries, including ProAssurance Casualty and ProAssurance Indemnity.

  All three companies share common management and ProAssurance

  Corporation and Subsidiaries, including ProAssurance Casualty and

  ProAssurance Indemnity, file consolidated financial statements and reports.

  Ex. A (Excerpts from 2008 ProAssurance Annual Report). Similarly, in Wu

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  v. MAMSI Life & Insur. Co., 256 F.R.D. 158, 165 (D. Md. 2008), the court

  considered whether the plaintiff, who filed a class action suit against her

  healthcare provider and its parent company, had standing to bring a claim

  against the parent company. The court held that the plaintiff “clearly” had a

  relationship with the parent company sufficient to establish standing because

  she was a member of the subsidiary, alleged a direct injury caused by the

  parent, and alleged that the parent company uniformly directed its network

  of providers to defraud its members. Id. at 167.

        The close relationship between the Defendant parties provides a sound

  basis supporting application of the juridical links doctrine and makes clear

  that it would be inappropriate to dismiss Plaintiffs’ claims at this stage of the

  litigation without allowing discovery.      See Marchwinski v. Oliver Tyrone

  Corp., 81 F.R.D. 487, 489 (W.D. Pa. 1979) (permitting discovery on the

  question of certification of defendant class action after finding it likely that

  the “juridical link” exception to Haas would be met).

        Plaintiffs’ claims for relief are plausible on their face, including the

  allegations regarding the close relationship between the Defendants and the

  concerted plan to overcharge medical professionals for ERP endorsements.

  However, if the Court should nonetheless conclude that Plaintiffs have failed

  to meet the Iqbal standard, Plaintiffs should be permitted to take limited



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  discovery on this issue and should be granted leave to amend their complaint.

  Modest discovery is likely to permit an amendment that would clearly

  satisfy any Iqbal concerns. Additionally, Defendants are the only parties

  who have access to much of the evidence and should not be granted a

  dismissal without being subjected to the crucible of discovery on these

  factual issues.

               3.     Defendants’ Specific Requests for Dismissal of
                      the Claims of Each of the Named Plaintiffs
                      Based on Factual Assertions Are Inappropriate
                      for Resolution on a Motion to Dismiss Prior to
                      Discovery

                      a.    Plaintiff Emergency Physicians of St.
                            Clare’s Has Stated a Viable Claim

        Plaintiff St. Clare’s alleges that the premium for its ERP endorsement

  should have been based on Defendants’ 2004 rates, when the policy was

  written, but that ProAssurance charged St. Clare’s the higher 2005 rate for

  new business. Complaint ¶¶ 44-47.

        Defendants argue that there was no overcharge because their 2005 rate

  change did not “go into effect” until April 1, 2005, and that the effective rate

  was the same on December 31, 2004 and January 1, 2005. Def. Br. 14.

  Defendants support this argument with an April 20, 2005 letter from

  ProNational Insurance Company (the predecessor to ProAssurance

  Casualty), which on its face is irrelevant and should be ignored and excluded

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  by the Court. That letter says nothing about the “rates” or effective dates for

  “rates.” It states: “I submit for your review and approval the revisions to

  the rules in the underwriting manual for the captioned program.” Dinger

  Declaration, Ex. D. If the Court wishes to entertain a fact dispute at this

  juncture, then it should know that Plaintiffs contest Defendants’ statement of

  fact on this issue. Attached as Exhibit B is a print out from Best State Rate

  Filings, an insurance filing commercial database, which shows that the

  ProAssurance rate change was filed as effective January 1, 2005, not April

  2005 and that the April 1, 2005 filing related to “revised Rules,” not rates.

  Attached as Exhibit C is a November 17, 2004 letter from ProNational

  Insurance Company to the New Jersey Division of Insurance and portions of

  the attachments to the letter showing that the revised fee schedule was

  submitted in November 2004 and was to be effective January 1, 2005.

  Indeed, the bottom of each page of the attachment that specifies rates says

  “Effective January 1, 2005.” 11

         The April 20, 2005 letter, is outside of the pleadings, inappropriate for

  consideration on a motion to dismiss under FRCP 12(b), and should be


  11
    It is also worth noting that a prior rate filing indicates that the ERP premium is to be
  calculated based on the premium charged for the policy being extended, not based on the
  premium for new business. See Ex. D, 2002 letter from ProNational Insurance Company
  to the New Jersey Department of Banking and Insurance (attached Explanatory
  Memorandum at 6).


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  excluded. See Fed. Civ. P. 12(d) (“If, on a motion under Rule 12(b)(6) or

  12(c), matters outside of the pleadings are presented to and not excluded by

  the court, the motion must be treated as one for summary judgment under

  Rule 56. All parties must be given a reasonable opportunity to present all

  the material that is pertinent to the motion.”). However, should the Court

  decide to consider it and effectively convert this into a motion for summary

  judgment, Plaintiffs must be given an opportunity to conduct discovery on

  this issue.

                     b.     Plaintiff Pascack Has Stated a Viable Claim

         Defendants seek dismissal of Plaintiff Pascack’s claim on the ground

  that ProAssurance Casualty applied the correct rate when it charged Pascack

  its 2004 rates because, according to Defendants, Plaintiffs claim that they

  should have been charged the rate in effect on the effective date of the ERP

  endorsement and Plaintiffs admit that the effective date was June 30, 2004.

  Def. Br. at 15. However, Defendants have misstated the basis for Plaintiff

  Pascack’s claim. Pascack alleged that the rate was to “be computed in

  accordance with the rules, rates, rating plan and premiums applicable on the

  effective date of the endorsement,” Complaint ¶ 40. The rules and rates in

  effect on June 30, 2004, made clear that the 2004 rates did not apply to

  Pascack’s policy and related ERP because Pascack’s policy originated in



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  2003 – not 2004. 12 Accordingly, under the rules and filings, the applicable

  rate for the ERP endorsement must be calculated based on the rate in effect

  for the underlying policy, not on a rate for new business.

           Defendants’ argument for dismissal of Pascack fundamentally

  misses the core of Pascack’s claim and should be rejected. To the extent

  there are factual disputes or interpretation of ambiguous contract provisions,

  discovery must be allowed before a dispositive motion can be considered

                        c.      Plaintiff Mercer Bucks              Orthopedics’
                                Claims are Timely

                                i.      The Statute of Limitations Did Not
                                        Begin to Run on October 30, 2003

       Defendants argue that when Plaintiff Mercer Bucks received a “Notice

  of Right to Purchase the Extended Reporting Period Endorsement (Tail

  Coverage)” on October 30, 2003, it knew of the injury and the statute of

  limitations began to run.          Thus, they argue that the six-year statute of

  limitations expired approximately one month before Mercer Bucks filed its

  complaint on December 9, 2009. Def. Br. at 13-14. However, when Mercer

  Bucks knew or should have known that it was being overcharged is a factual

  inquiry that cannot be decided at this stage of the litigation.

  12
     Defendants’ rates and rules filing, effective January 1, 2004, stated that it applied to
  (1) new businesses incepting on or after January 1, 2004; (2) renewal businesses
  renewing on or after January 1, 2004; and (3) extended reporting period endorsements to
  policies incepting or renewing on or after January 1, 2004. Complaint ¶ 40.


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      Merely sending a letter notifying a client of their opportunity to

  purchase an endorsement and mentioning the charge is neither a breach of

  contract nor sufficient to put a party on inquiry notice of wrongdoing.

      The letter offer was merely advisory and no action was required or

  taken at the time Plaintiff received it. By its terms, Mercer Bucks had until

  January 30, 2004, to decide whether to purchase tail coverage, which they

  did by sending in payment on January 24, 2004, and letters signed by the

  physicians on December 30, 2003. The breach occurred when ProAssurance

  accepted a payment that violated the filed rates and contract, and failed to

  issue a refund. Mercer Bucks was not put on notice until they had reason to

  believe that they had been overcharged.


                            ii.      The Statute of Limitations Does Not
                                     Begin to Run Until a Plaintiff Knew
                                     or Should Have Known of the
                                     Injury

        Defendants concede that the statute of limitations for causes of action

  alleging fraud, breach of contract and accounting is six years from the time

  the action accrued. Def. Br. 13. See also N.J. Stat. Ann. § 2A:14-1. “A

  cause of action accrues when the plaintiff becomes ‘aware of an injury and a

  causal relationship between the injury and an actor, but need not know that

  the conduct is tortious or legally wrongful.’” Gillespie v. Janey, 2010 U.S.



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  Dist. LEXIS 20041, at *12 (D.N.J. Mar. 5, 2010) (quoting S. Cross Overseas

  Agencies, Inc. v. Wah Kwong Shipping Group, Ltd., 181 F.3d 410, 425 (3d

  Cir. 1999)). “When the gist of the action is fraud concealed from the

  plaintiff, the statute begins to run on discovery of the wrong or facts that

  reasonably should lead the plaintiff to inquire into the fraud.” S. Cross

  Overseas Agencies, 181 F.3d at 425 (citing N.J. Stat. Ann. § 2A:14-1 and

  Lopez v. Sawyer, 300 A.2d 563, 567 (1973)). While the discovery rule

  typically is not applicable to breach of contract claims, the New Jersey

  Supreme Court has acknowledged that is applicable to a breach of contract

  claim where the breach is not obvious and detectable with reasonable

  diligence. See County of Morris v. Fauver, 707 A.2d 958, 972 (N.J. 1998). 13

         The “discovery rule” is an equitable principle adopted in New Jersey

  in Fernandi v. Strully, 173 A.2d 277 (N.J. 1961), whose purpose is to avoid

  harsh results that otherwise would flow from mechanical application of a

  statute of limitations. Kemp Indus. v. Saftey Light Corp., 1994 U.S. Dist.

  LEXIS 21466 (D.N.J. 1994), at *56 (quoting Vispisiano v. Ashland

  Chemical Co., 527 A.2d 66, 72 (N.J. 1987)) (citations omitted).
  13
     Defendants support their argument with a cite to only one case, County of Morris v.
  Fauver, Def. Br. at 13. That case involved the interpretation of a statute – the New
  Jersey Contractual Liability Act, N.J.S.A. 59:13 – which has a specific provision as to
  notice and limitations. That statute is not applicable to this case and the case is clearly
  distinguishable and not relevant to the issue at hand. However, it did hold that the statute
  of limitations accrued at the time of payment, not the time a bill was submitted.



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        Under the discovery rule, a cause of action does not “accrue,” for the

  purpose of the statute of limitations “until the plaintiff learns, or reasonably

  should learn, the existence of that state of facts which may equate in law

  with a cause of action.” Kemp Indus., 1994 U.S. Dist. LEXIS 21466, at *56

  (quoting Vispisiano, 527 A.2d at 72); see also Apgar v. Lederle

  Laboratories, 588 A.2d 380 (N.J. 1991). Under the discovery rule, the six-

  year statute of limitations did not begin to run until Mercer Bucks knew or

  had reason to know that it was being overcharged for its ERP.

        When there is a dispute about the applicability of the statute of

  limitation, “there are usually factual questions as to when a plaintiff

  discovered or should have discovered the elements of its cause of action.” S.

  Cross Overseas Agencies, 181 F.3d at 425. Moreover, “[D]efendants bear a

  heavy burden in seeking to establish as a matter of law that the challenged

  claims are barred.” Id. (quoting Van Bursirk v. Carey Canadian Mines, Ltd.,

  760 F.2d 481, 498 (3d Cir. 1985)).

                            iii.      Plaintiff Mercer Bucks Did
                                      Not Know or Have Reason To
                                      Know of the Wrongdoing in
                                      2003

        Mercer Bucks did not know or have reason to know on October 30,

  2003 that ProAssurance Casualty was overcharging for its ERP.

  ProAssurance Casualty merely sent a letter enclosing a “Notice of Non-

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  renewal effective December 31, 2003” and a “Notice of Right to Purchase

  the Extended Reporting Period Endorsement (Tail Coverage)” (“ERP

  notice”) for each doctor at Mercer Bucks. Complaint ¶ 28, Ex. E. Each

  ERP notice required Mercer Bucks to submit payment “within thirty (30)

  days following termination of the coverage (or thirty (30) days from the date

  of this letter, whichever is later).” Ex. F. Each ERP notice also disclosed

  the primary limits of the ERP and the premium or cost of the ERP. Nothing

  in the letter required any action, analysis or payment before January 30,

  2004. Nor did anything in the letter notices even remotely suggest that the

  amount mentioned for each ERP endorsement was based on the 2004 rates

  for new business. The return letters signed by the physician were all dated

  December 30, 2003. Complaint ¶¶ 29, 30, Ex. F.

        Mercer Bucks’ policy with ProAssurance states:

        ProNational will compute the additional premium for the
        extending reporting period endorsement in accordance with
        ProNational’s rules in effect on the termination date. The
        extended reporting period endorsement will be effective as of
        the termination date and will be for an unlimited time period
        thereafter….The extended reporting period endorsement is
        subject to the policy provisions.

  Ex. G, Professional Liability Policy, at 6. December 31, 2003 is the stated

  Effective Date on the ERP endorsement. Ex. H. Based on the actual policy

  language, Mercer Bucks had no reason to suspect or believe that the



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  premium for the ERP would be computed based on rates that would take

  effect for new business on January 1, 2004. Additionally, although the ERP

  notice was sent to Mercer Bucks on October 30, 2003, it could not and did

  not become effective until the policy termination date, December 31, 2003.

         In short, Mercer Bucks had no reason to suspect on October 30, 2003,

  that any wrongdoing had occurred. ProAssurance does not contend that it

  informed Mercer Bucks that it was charging based on 2004 rates, not the

  rates in effect for the policy. ProAssurance does not point to anything that

  would have put Mercer Bucks on notice of the wrongdoing alleged. They

  merely sent a letter indicating pricing that would be charged when and if the

  tail was purchased and that the period to purchase extended until the end of

  January 2004. 14

         It is also important to note that the computation of the applicable rates

  is a highly complex process -- not immediately or easily determined by the

  Plaintiffs.   Rate computations are based on many factors and vary by

  Physician, see e.g. Ex. C, thus the overcharges were in no way obvious or

  detectable with reasonable diligence.


  14
    Contrary to Defendants’ assertion that Mercer Bucks “concedes that on October 30,
  2000, ProAssurance Casualty notified Mercer-Bucks that it could purchase an ERP
  endorsement at a rate that was allegedly higher than that provided for in Mercer-Bucks’
  policy,” Def. Br. at 13(citing Complaint at ¶¶ 28, 30, 32-33), nothing in those paragraphs
  concedes that point.


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         Given the heavy burden that Defendants bear in seeking to establish

  as a matter of law that Mercer Bucks’ claims are time-barred, it is clear on

  this record that Defendants have failed to overcome that burden and the

  motion to dismiss should be denied. If the Court intends to address the

  factual issue at this time, then it should allow discovery to proceed and grant

  Plaintiff leave to amend, should that be warranted.

  III.   CONCLUSION

         For the foregoing reasons, the Court should deny Defendants’ motion

  to compel arbitration as well as Defendants’ motion to dismiss. Should the

  Court determine that arbitration is appropriate for some or all of the claims

  asserted, this case should be stayed pending the outcome of the arbitration.

  Dated: March 29, 2010


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